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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                    Criminal No. 12-26(4) (JRT/JSM)

                                  Plaintiff,
                                                          MEMORANDUM OPINION AND
v.                                                        ORDER ON THE AUGUST 6, 2012
                                                                ORDER OF THE
ANTHONY FRANCIS CREE,                                        MAGISTRATE JUDGE

                                Defendant.


       Andrew R. Winter and Steven L. Schleicher, Assistant United States
       Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600 United
       States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, for
       plaintiff.

       John C. Brink, JOHN C. BRINK, LAWYER, 331 Second Avenue South,
       Suite 110, Minneapolis, MN 55401, for defendant.


       The United States filed a superseding indictment against Anthony Francis Cree

and other defendants, alleging that Cree is a member of the Native Mob gang and

engaged in a conspiracy to participate in racketeering activity, among other crimes.

United States Magistrate Judge Janie S. Mayeron issued an order addressing various

motions filed by Cree and other defendants. (Docket No. 729.) Cree has objected to the

order on four grounds. (Docket No. 787.) The Court will overrule Cree’s objections,

except to find that Cree is entitled to a bill of particulars regarding the identity of his co-

conspirators.




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I.     STANDARD OF REVIEW

       A district court’s review of a magistrate judge’s order on nondispositive matters,

such as those matters involved in the order at issue, is “extremely deferential.” See Roble

v. Celestica Corp., 627 F. Supp. 2d 1008, 1014 (D. Minn. 2007); see also United States v.

Raddatz, 447 U.S. 667, 673 (1980). This Court will reverse such an order only if it is

clearly erroneous or contrary to law. See 28 U.S.C. § 636(b)(1)(A); Fed. R. Crim. P.

59(a); D. Minn. LR 72.2(a).


II.    MOTION FOR SEVERANCE OF DEFENDANTS1

       Cree objects that it was an error to deny his motion for severance of defendants

because of potential Confrontation Clause issues and because he is named in only certain

counts of the indictment. Cree claims that evidence concerning his co-defendants does

not relate to him and will be highly prejudicial to him. He also alleges generally that he

and his co-defendants have antagonistic defenses that will be reciprocally prejudicial.

       Under Federal Rule of Criminal Procedure 8(b), defendants are properly joined “if

they are alleged to have participated in the same act or transaction, or in the same series

of acts or transactions, constituting an offense or offenses.” “Generally, the ‘same series

of acts or transactions’ means acts or transactions that are pursuant to a common plan or a

common scheme.” United States v. Wadena, 152 F.3d 831, 848 (8th Cir. 1998). “[I]t is a

well settled rule in [the Eighth C]ircuit that the propriety of joinder must appear on the

       1
        A motion to sever is a nondispositive motion. United States v. Ortiz, No. 08-CR-231,
2011 WL 1344213, at *1 (E.D. Wis. Apr. 8, 2011). The Court’s conclusion on the motion to
sever would be the same even if it had reviewed this motion de novo, however.



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face of the indictment.” United States v. Bledsoe, 674 F.2d 647, 655 (8th Cir. 1982).

“Rule 8(b) requires that there be some common activity involving all of the defendants

which embraces all the charged offenses even though every defendant need not have

participated in or be charged with each offense.” Id. at 656. Courts must liberally

construe Rule 8(b). Id. at 655.

       The Court finds that the requirements of Rule 8(b) are met in this case. Cree is

charged, along with his co-defendants, with knowing participation in an unlawful RICO

conspiracy. In Count 2, the defendants are charged with a conspiracy to use and carry

firearms during and in relation to a crime of violence. The remaining counts involve acts

that were allegedly committed in furtherance of or in conjunction with the RICO

conspiracy.    Because the superseding indictment alleges that the acts taken by all

defendants were acts in furtherance of a RICO conspiracy, the Court concludes that all of

the accused criminal conduct stems from “the same series of acts or transactions,

constituting an offense” under Rule 8(b).2

       Federal Rule of Criminal Procedure 14 also applies to motions for severance. This

Rule permits the Court, in its discretion, to sever otherwise properly joined defendants or


       2
         See United States v. Gravatt, 280 F.3d 1189, 1191 (8th Cir. 2002) (“Persons charged in a
conspiracy or jointly indicted on similar evidence from the same or related events should be tried
together, even if each defendant did not participate in or was not charged with each offense.”);
United States v. Houston, 892 F.2d 696, 703 (8th Cir. 1989) (“[T]he initial joinder of the
defendants was proper pursuant to [Rule] 8(b) because the indictment charged all of the
defendants with participation in a single conspiracy and charged several of the defendants with
various substantive counts arising from the same conspiracy.” (footnote omitted)); see also
United States v. Darden, 70 F.3d 1507, 1527 (8th Cir. 1995) (“Each defendant may be held
accountable for actions taken by other defendants in furtherance of the [RICO] conspiracy[.]”).



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offenses where a joint trial may result in prejudice to one of the defendants. Fed. R.

Crim. P. 14(a). There is a preference for joint trials and less drastic measures than

severance may suffice to alleviate the risk of prejudice. Zafiro v. United States, 506 U.S.

534, 537-39 (1993); see also United States v. Flores, 362 F.3d 1030, 1039 (8th Cir. 2004).

To grant a motion for severance, “the necessary prejudice must be severe or compelling.”

United States v. Pherigo, 327 F.3d 690, 693 (8th Cir. 2003) (internal quotation marks

omitted). Prejudice is severe where the jury is incapable of compartmentalizing the

evidence or the defendants’ defenses are irreconcilable. United States v. Frank, 354 F.3d

910, 920 (8th Cir. 2004). In determining the jury’s ability to compartmentalize the

evidence, courts consider the complexity of the case and the adequacy of admonitions

and instructions of the trial judge. Pherigo, 327 F.3d at 693. Generally, “[p]ersons

charged in a conspiracy or jointly indicted on similar evidence from the same or related

events should be tried together, even if each defendant did not participate in or was not

charged with each offense.” United States v. Gravatt, 280 F.3d 1189, 1191 (8th Cir.

2002). Furthermore, “a court must weigh the inconvenience and expense of separate

trials against the prejudice resulting from a joint trial of codefendants.” Pherigo, 327

F.3d at 693.

       Cree argues that he will be prejudiced by being associated with his co-defendants,

particularly because certain counts do not specifically involve him.        Cree has not

identified specific evidence that the United States may introduce that will prejudice his

trial, however. See United States v. Garrett, 961 F.2d 743, 746 (8th Cir. 1992) (holding

that a defendant “must make a showing of real prejudice by demonstrating that the jury


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was unable to compartmentalize the evidence” (internal quotation marks omitted)). The

Court finds Cree’s general concerns about the entry of evidence regarding his co-

defendants to be an insufficient basis to sever the trial. This is particularly true because

Cree is alleged to have committed crimes such as attempted murder in aid of

racketeering. Cree’s allegation that he will somehow be prejudiced by being associated

with his co-defendants is not a sufficient basis to sever the trial in light of the crimes that

he is personally alleged to have committed. Instead of finding undue prejudice, the Court

concludes that “justice is best served by trying the members of [this] racketeering

enterprise together because a joint trial gives the jury the best perspective on all of the

evidence and therefore increases the likelihood of a correct outcome.” See United States

v. Darden, 70 F.3d 1507, 1527-28 (8th Cir. 1995) (internal quotation marks omitted).

       Cree also alleges that his Confrontation Clause rights – presumably under Bruton

v. United States, 391 U.S. 123 (1968)3 – may be violated if his motion for severance is

not granted. However, Cree has not identified any statements that would violate Bruton

or otherwise be inadmissible against him. Accordingly, the Court finds this argument to

be insufficient grounds on which to grant the motion for severance. Of course, Cree may

object at trial to evidence that he deems unduly prejudicial or otherwise inadmissible.

       Finally, the Court has weighed the inconvenience of having separate trials. This

case involves a long history of many acts allegedly committed by members of the Native


       3
         In Bruton, the Supreme Court held that the admission of statements from a nontestifying
defendant that inculpated a co-defendant violated the latter’s Confrontation Clause rights, despite
a curative instruction otherwise. 391 U.S. at 135-36.



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Mob. Having a joint trial under these circumstances “save[s] time and money for the

courts, prosecutors, and witnesses.” See Darden, 70 F.3d at 1527. This factor thus

weighs in favor of denying the motion for severance. Considering the factors discussed

above and the evidence presented, the Court will overrule Cree’s objections to the denial

of his motion to sever defendants.


III.   MOTION FOR SEVERANCE OF COUNTS

       Cree also moves to sever counts in the indictment, severing counts 1-5 in which he

is named and which concern the alleged assault of Amos Laduke from other counts in the

indictment.4 He argues that Rules 8 and 14 of the Federal Rules of Criminal Procedure

require severance because the counts are not properly joined with the other counts in the

indictment and because the joinder is prejudicial.

       The Court finds that the requirements of Rule 8 are met here, for the reasons

described above.      Counts 1-5 stem from the same series of acts or transactions,

constituting an offense, as the other counts in the indictment. See        United     States    v.

Midkiff, 614 F.3d 431, 439 (8th Cir. 2010) (“Rule 8(a) allows a single indictment to

charge a defendant with multiple offenses if the offenses ‘are of the same or similar

character, or are based on the same act or transaction, or are connected with or constitute

parts of a common scheme or plan.’” (quoting Fed. R. Crim. P. 8(a))). Furthermore, the

       4
         Cree objects to the Magistrate Judge’s determination that Cree was, in fact, arguing that
he should be severed from his co-defendants, as opposed to arguing that the respective counts
against him be severed into separate indictments. (See Order at 39-40, Aug. 6, 2012, Docket
No. 729.) The Court will assume for the purposes of this order that the Magistrate Judge’s
finding was incorrect and that Cree was moving that the Court sever the counts against him.



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proof for the counts are overlapping and intertwined, as they are all allegedly connected

to the racketeering enterprise of the Native Mob, making joinder appropriate. See United

States v. Davis, 103 F.3d 660, 676 (8th Cir. 1996) (considering whether the proof for

counts “is overlapping and intertwined”).

       The Court also concludes that the requirements of Rule 14 are met and that there is

not undue prejudice from trying the counts together. It appears that evidence regarding

many, if not all, of the counts in the indictment would be admissible at Cree’s separate

trials on only those counts which name Cree because they are all tied to the alleged RICO

conspiracy. See United States v. Dierling, 131 F.3d 722, 734 (8th Cir. 1997); Davis, 103

F.3d at 676; Darden, 70 F.3d at 1527. Even if this were not the case, however, Cree has

not made a “specific showing” that a jury could not compartmentalize the evidence

between counts or that he would otherwise be prejudiced by trying the counts together.

See United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006); Davis, 103 F.3d at 676.

Accordingly, the Court will deny the motion to sever the counts.


IV.    DISCLOSURE OF INFORMANTS AND PRETRIAL INTERVIEWS

       Cree also objects to the Magistrate Judge’s determination that the United States

need disclose the identity of certain confidential informants only seven days before trial.

Cree had moved the Court for an order requiring the United States to provide him with

the identities of certain informants at least thirty days before trial.5 Cree now objects to


       5
          Specifically, he requested the identities of all informants who were witnesses to or
participants in the crimes charged in the indictment or crimes concerning which the United States
                                                                 (Footnote continued on next page.)


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the Magistrate Judge’s conclusion that seven days’ notice is sufficient to find and attempt

to interview these informants because, he alleges, these informants tend to live on the

fringe of criminal activity and can be hard to locate and interview.

       Cree also objects to the Magistrate Judge’s determination regarding whether the

United States must produce confidential informants for pretrial interviews. Cree had

moved for such production. Cree objects that the Magistrate Judge effectively denied the

motion by leaving the matter to the discretion of the United States.

       The Supreme Court has recognized a government privilege to withhold the

identity of confidential informants in certain situations. See Roviaro v. United States, 353

U.S. 53, 59 (1957). This privilege recognizes the obligation of citizens to report crimes,

and “by preserving their anonymity, encourages them to perform that obligation.” Id.

However, where disclosure “is relevant and helpful to the defense or an accused, or is

essential to a fair determination of a cause, the privilege must give way.” Id. at 60-61.

The defendant bears the burden of showing that the informant’s identity is material.

Carpenter v. Lock, 257 F.3d 775, 779 (8th Cir. 2001).

       In deciding whether to require disclosure, a court must balance “the public interest

in protecting the flow of information against the individual’s right to prepare his

defense.” Roviaro, 353 U.S. at 62. If the confidential informant is “an active participant

____________________________________
(Footnote continued.)
intends to introduce evidence at trial and whose identity would be relevant and helpful to the
defense or essential to a fair determination of this case. Cree has raised no objection to the
Magistrate Judge’s determination about the identities of which informants the United States must
disclose prior to trial.



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or witness to the offense charged, disclosure will almost always be material to the

accused’s defense” and thus required. Devose v. Norris, 53 F.3d 201, 206 (8th Cir. 1995).

       “[W]here materiality is shown, the court owes a duty to make every reasonable

effort to have the informant made available to the defendant to interview or use as a

witness, if desired.”    Harris v. Taylor, 250 F.3d 613, 617 (8th Cir. 2001) (internal

quotation marks omitted).       Generally, a defendant is entitled to receive information

regarding a material informant’s whereabouts, in order to enable his counsel to interview

the informant about any possible exculpatory information and to prepare for possible

cross-examination. See United States v. Webster, 490 F.2d 435, 437 (8th Cir. 1974).6 If

an informant has information that could have exculpated a defendant, the failure to

provide access to that informant can be grounds for reversal. See United States v.

Padilla, 869 F.2d 372, 377 (8th Cir. 1989).

       Here, as a preliminary matter, the Magistrate Judge held that the United States was

required to disclose the identities and location of at least four informants who are

necessary trial witnesses for the United States regarding the crimes allegedly committed




       6
          Sometimes, however, the United States may not be aware of an informant’s
whereabouts. Once a defendant shows that an informant is a material witness, the United States
must make every reasonable effort to make that informant available to the defendant to interview
or use as a witness. United States v. Padilla, 869 F.2d 372, 376 (8th Cir. 1989). If the United
States cannot discover the location of an informant despite making every reasonable effort to
find him or her, there is no violation of the defendant’s due process rights. See United States v.
Emory, 468 F.2d 1017, 1020-21 (8th Cir. 1972).




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by the defendants in this case.7 There has been no objection to this determination, and

the Court likewise finds that the disclosure of these witnesses is material to Cree’s

defense and thus the United States must disclose the witnesses’ identities and other

information8 about them. See Devose, 53 F.3d at 206.

       The first issue raised in the objections is whether the United States must disclose

this information only seven days before trial or, as Cree requests, a longer period of time

before trial. The Court finds that the Magistrate Judge’s decision that the United States

should provide this information seven days before trial is not clearly erroneous or

contrary to law. Given the allegations of violence, witness tampering, and retaliation

against a witness in this case, the Court affirms the Magistrate Judge’s determination that

providing more than seven days’ advance notice of the informants’ identities is

unwarranted. See, e.g., United States v. Howard, No. 5:12-CR-9-D, 2012 WL 2525625,

at *4 (E.D.N.C. June 29, 2012) (ordering disclosure of the identities of confidential

informants not later than five business days before trial); United States v. Davis, No. 06-

C-215, 2007 WL 2220261, at *5-6 (E.D. Wis. Apr. 16, 2007) (considering safety of


       7
        The Magistrate Judge also held that, to the extent that there is a fifth informant and that
informant was an active participant in or witness to any of the crimes alleged against any of the
remaining defendants, the United States will be required to provide the identity of that witness.
       8
          The Magistrate Judge held that the United States must provide the names of the
confidential informants who were active participants in the crimes with which the defendants are
charged, along with notice as to what topics these informants will testify about at trial and any
impeachment related evidence as to each informant. No party has objected to the information
that the United States must provide; the only objection is regarding when the information must
be provided.




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confidential informants). Seven days’ notice will appropriately balance Cree’s rights

with the protection of the confidential informants. See Roviaro, 353 U.S. at 62.

       The Court must next address Cree’s request that the United States make the

informants available for an interview. The United States’s disclosure obligation with

respect to material confidential informants is generally satisfied when it provides a

defendant with information pertaining to an informant’s identity and location so that the

defendant may contact the informant to request an interview or use the informant as a

witness. See Padilla, 869 F.2d at 376-77. Here, the Court finds that Cree has not made a

sufficient showing that the United States is required to produce the informants for an

interview or that he will be unable to find the informants with seven days’ advance notice

of their identifying and other information. It is possible that the informants will refuse to

speak to Cree, if contacted, but this possibility does not require that the United States

produce the informants for interviews or encourage them to speak to Cree. See United

States v. Bittner, 728 F.2d 1038, 1041-42 (8th Cir. 1984) (holding that “the defendant’s

right of access is not violated when the witness chooses of her own volition not to be

interviewed”).    The Court will thus affirm the Magistrate Judge’s order because it

adequately protects Cree’s rights.9




       9
         The Magistrate Judge held that the United States must disclose any Jencks Act materials
from the informants at least three days prior to trial. Cree has made no specific objection to this
finding, and, deeming it appropriate, the Court will affirm this ruling.




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V.     BILL OF PARTICULARS

       Cree next objects to the Magistrate Judge’s denial of his request for an order

granting a bill of particulars for more definite information pertaining to the indictment.10

Cree requested, among other information, that the bill of particulars list the names of all

persons whom the United States will claim at trial were his coconspirators, to the extent

known to the United States. This request stems from the United States’s allegation that

Cree engaged in a RICO conspiracy with named defendants “together with others both

known and unknown to the Grand Jury[.]” (See Superseding Indictment ¶ 20.) The

Magistrate Judge denied Cree’s request for a bill of particulars, stating that the indictment

and discovery sufficiently enable Cree to divine the scope, duration, and extent of

criminal activities of the enterprise and acts attributable to him. The Court will reverse

this holding, in part, because a bill of particulars will enable Cree to prepare for trial and

avoid or minimize the danger of unfair surprise at trial.

       An indictment must be “a plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). In certain


       10
          Specifically, Cree claims that he is entitled to (1) the names of all persons whom the
United States will claim at trial were coconspirators, to the extent known to the United States;
(2) the dates that each alleged coconspirator joined the conspiracy; (3) the dates, locations, and
participants of any meetings, conversations, or other communications through which the United
States contends that each person joined or personally participated in the alleged conspiracy;
(4) the names of all unindicted co-conspirators; (5) the names of any other, nonconspirator
participants in the acts alleged in the indictment; (6) the names of all persons whom the United
States will claim originated the conspiracy and when; and, (7) the names of all “others” “known
and unknown to the Grand Jury” who the United States will claim knowingly conspired with
Cree, as set forth in the indictment.




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cases, courts may direct the United States to provide a bill of particulars that includes

more information than is available in the indictment, pursuant to Rule 7(f) of the Federal

Rules of Criminal Procedure.11

       A bill of particulars serves to inform the defendant of the nature of the
       charge against him with sufficient precision to enable him to prepare for
       trial, to avoid or minimize the danger of surprise at trial, and to enable him
       to plead his acquittal or conviction in bar of another prosecution for the
       same offense when the indictment is too vague and indefinite.

United States v. Hernandez, 299 F.3d 984, 989-90 (8th Cir. 2002). A bill of particulars is

not intended to supplement discovery or to provide detailed disclosure of the United

States’s evidence at trial. United States v. Shepard, 462 F.3d 847, 860 (8th Cir. 2006);

United States v. Wessels, 12 F.3d 746, 750 (8th Cir. 1993). District courts have broad

discretion in granting or denying a bill of particulars. United States v. Sileven, 985 F.2d

962, 966 (8th Cir. 1993).

       As a preliminary matter, the Court finds that the indictment in this case is

sufficient to provide a plain, concise, and definite written statement of the essential facts

of the offenses charged. See Fed. R. Crim. P. 7(c)(1); Huggans, 650 F.3d at 1217.
       11
           “An indictment is sufficient if it contains all of the essential elements of the offense
charged, fairly informs the defendant of the charges against which he must defend, and alleges
sufficient information to allow a defendant to plead a conviction or acquittal as a bar to a
subsequent prosecution.” United States v. Huggans, 650 F.3d 1210, 1217 (8th Cir. 2011)
(internal quotation marks omitted); see also United States v. Nabors, 45 F.3d 238, 239-40
(8th Cir. 1995) (stating that an indictment that tracks the language of the charging statute is
generally sufficient to meet the necessary criteria for an indictment, assuming the statute is
clear). If an indictment meets this standard, it is sufficient on its face. See Billingsley v. United
States, 16 F.2d 754, 755 (8th Cir. 1926). However, a legally sufficient indictment might still fail
to apprise a defendant fully of what the defendant would be called upon to meet at the trial and to
enable the defendant to prepare their defense. Id. In this situation, a motion for a bill of
particulars is an appropriate remedy to secure a more specific statement of the facts. Id.; see also
United States v. Hance, 501 F.3d 900, 906 (8th Cir. 2007).



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However, more information is needed through a bill of particulars to enable Cree to

prepare for trial and avoid or minimize the danger of unfair surprise at trial.                See

Hernandez, 299 F.3d at 989-90. Specifically, the Court finds that Cree is entitled to the

names of all persons whom the United States will claim at trial were co-conspirators, to

the extent known by the United States.12 Numerous courts have found that bills of

particulars are warranted to provide the names of alleged co-conspirators.13

       Here, Cree is accused of engaging in a racketeering enterprise through his

membership in the Native Mob. According to the indictment, “the enterprise constituted

an ongoing organization whose members functioned as a continuing unit for a common

purpose of achieving the objectives of the enterprise.” (Superseding Indictment ¶ 14.)

The purpose of the enterprise was to preserve and protect the power of the enterprise

       12
        This includes, as Cree has requested, the names of all “others” “known and unknown to
the Grand Jury,” as stated in the indictment, whom the United States will claim at trial
knowingly conspired with Cree.
       13
           See United States v. Allocco, 801 F. Supp. 1000, 1003 (E.D.N.Y. 1992) (“While the
indictment is detailed, the Court finds that the government must provide defendant with the
names of ‘the others’ referred to in the indictment in order to allow defendant to properly prepare
for trial.”), aff’d, 29 F.3d 620 (2d Cir. 1994); United States v. Lonzo, 793 F. Supp. 57, 60
(N.D.N.Y. 1992) (“[G]iven the fact that the current practice of this Court has been to grant
requests for the names of unindicted co-conspirators . . . – and that such information would
enable defendant to make an informed decision as to any possible plea – Court grants the request
that the Government disclose the names of unindicted co-conspirators[.]”); United States v.
Taylor, 707 F. Supp. 696, 700 (S.D.N.Y. 1989) (ordering a bill of particulars for “[t]he names of
all persons whom the government will claim at trial were co-conspirators, to the extent known to
the government”); United States v. Vastola, 670 F. Supp. 1244, 1269-70 (D.N.J. 1987) (ordering
the United States in a RICO case to disclose “the names of all co-conspirators or participants in
the alleged offenses”); United States v. Rogers, 617 F. Supp. 1024, 1028 (D. Colo. 1985) (“It is
well-settled that the government must identify undisclosed and unidentified co-conspirators,
aiders and abettors, and other individuals involved in the criminal acts charged; especially where
the government plans to call such persons as witnesses.”), aff’d in part, 960 F.2d 1501 (10th Cir.
1992).



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through intimidation and violence, among other activities, and the enterprise was carried

out through regular meetings and other means. (Id. ¶¶ 15-16.) The Court finds that, to

adequately prepare for trial, Cree must be aware of who the United States will claim at

trial were his co-conspirators because this is a critical and basic aspect of the charges

against him. Although many names of his alleged co-conspirators are already included in

the superseding indictment, it is unclear if there are other co-conspirators to whom the

United States also intends to reference at trial.

       Before ordering the production of this information, however, the Court will allow

the United States to demonstrate in camera that such disclosures might endanger the

safety of the unnamed co-conspirators or other individuals. See United States v. Vastola,

670 F. Supp. 1244, 1270 (D.N.J. 1987) (“[T]he names of all co-conspirators or

participants in the alleged offenses should be provided, except insofar as the Government

can show, in camera, that such disclosures might endanger the safety of prospective

witnesses.” (internal quotation marks omitted)). The Court will order that, if the United

States makes such an in camera submission to the Court, the submission must describe

any restrictions that the Court could impose on the disclosure of the information that

would be sufficient to protect the co-conspirators or other individuals.

       The Court will not grant the remainder of Cree’s request for a bill of particulars.

Cree’s request for information such as the names of unindicted co-conspirators who will

not be discussed at trial and the dates, locations, and participants of any meetings that

furthered the alleged conspiracy are requests for detailed disclosure of the United States’s




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evidence that are not, in this case, the proper subject of a bill of particulars.14 Indeed,

much of this information is unlikely to be introduced at trial. The indictment alleges that

the Native Mob enterprise has existed since the 1990s and involves approximately 200

members. Cree’s request for information about all co-conspirators, all meetings, and

other such sweeping information about the enterprise is overbroad and not critical to his

preparation for trial.15 Accordingly, the Court will grant Cree’s request for a bill of

particulars in part.


                                            ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, the

Court SUSTAINS in part and OVERRULES in part Defendant’s objections [Docket

No. 787]. The Order of the Magistrate Judge [Docket No. 729] is AFFIRMED in part

and REVERSED in part. Accordingly, IT IS HEREBY ORDERED that:

       1.      Defendant’s Motion for Bill of Particulars [Docket No. 410] is GRANTED

in part and DENIED in part as follows:

               a.      The Court will order, no later than January 8, 2013, unless changed

       following in camera review, if any, that the United States provide a bill of

       14
           See Wessels, 12 F.3d at 750; United States v. Climatemp, Inc., 482 F. Supp. 376, 390
(N.D. Ill. 1979) (“Numerous cases have denied particulars asking for details of conspiratorial
meetings, what was said at each meeting, and all the acts of the co-conspirators tending to
connect each of them to the alleged conspiracy.”), aff’d sub nom. United States v. Reliable Sheet
Metal Works, Inc., 705 F.2d 461 (7th Cir. 1983).
       15
           In addition, Cree’s request for “the names of any other, nonconspirator participants in
the acts alleged in the indictment” is both vague and overbroad.




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     particulars with the names of all persons whom the United States will claim at trial

     were co-conspirators, to the extent known by the United States.

            b.     The United States may submit to the Court, in camera and within

     three (3) business days of this order, a brief not to exceed ten (10) pages and

     supportive exhibits demonstrating that the bill of particulars might endanger the

     safety of the co-conspirators or other individuals. If the United States makes such

     an in camera submission to the Court, the submission must describe any

     restrictions that the Court might impose on the disclosure of the information to

     Cree that would be sufficient to protect the co-conspirators or other individuals.

            c.     The motion is otherwise DENIED.

      2.    The Order of the Magistrate Judge is otherwise AFFIRMED.


DATED: December 12, 2012                          ____s/                      ____
at Minneapolis, Minnesota.                              JOHN R. TUNHEIM
                                                     United States District Judge




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